Case No. 1:24-cr-00251-RMR       Document 115       filed 11/06/24   USDC Colorado        pg 1
                                          of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 24-cr-0251-RMR

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1. RONALD KING,
 2. VICTOR ROITER,
 3. TINA WELLMAN,
 4. ADAM SHORR,
 5. ROBERT O’SULLIVAN,
 6. BRADLEY EDSON, and
 7. JOHN GAUTEREAUX,

            Defendants.
 ______________________________________________________________________

            GOVERNMENT’S SECOND NOTICE OF RELATED CASE
 ______________________________________________________________________

        The United States respectfully notifies the Court that this case is related to United

 States v. Fabien Antonio Espinosa, 24-cr-00315-REB. Defendant Espinosa is charged

 with being a co-conspirator with defendants herein, Ronald King, Victor Roiter, Tina

 Wellman, and others, for conduct that is included in Counts 1 and 2 in the Indictment in

 this case. Because of the substantial overlap of the cases, the Government submits this

 notice for the Court’s awareness and consideration for purposes of assignment of cases

 pursuant to D.C.COLO.LCrR 50.1. The Government respectfully informs the Court as

 follows:
Case No. 1:24-cr-00251-RMR        Document 115      filed 11/06/24     USDC Colorado        pg 2
                                           of 4




        1.     The Indictment in this case alleges that certain defendants defrauded

 Medicare and Colorado Medicaid, illegally obtaining over $40 million for medically

 unnecessary genetic tests (Count 1), and that all of the defendants participated in a

 conspiracy to pay millions of dollars in illegal kickbacks to “marketing” companies that

 solicited the elderly to turn over their Medicare information and participate in those

 unnecessary tests and to obtain doctors’ orders for said tests (Count 2).

        2.     In case number 24-cr-00315-REB, Defendant Fabien Espinosa is charged

 with conspiring with Victor Roiter, Ronald King, and Tina Wellman—all defendants in

 Counts 1 and 2 of this Indictment—and others to take kickbacks from and to commit

 health care fraud through certain Tesis labs. Defendant Espinosa’s actions and his

 agreements are subsumed within and are part of the proof on Counts 1 and 2 of the

 Indictment in this case.

        3.     The charges in both cases involve overlapping evidence and numerous

 related participants. Additionally, in sentencing Defendant Espinosa and the King

 defendants, the applicable judicial officer’s factual findings and legal conclusions

 regarding sentencing factors and application of the United States Sentencing Guidelines

 are likely to involve consideration of and conclusions on overlapping facts and evidence.

        4.     Due to the overlapping nature of the conduct at issue in both cases and

 the numerous participants involved in the schemes, the Court’s resources may be

 maximized by assignment of both cases to a single judicial officer.




                                              2
Case No. 1:24-cr-00251-RMR       Document 115    filed 11/06/24   USDC Colorado   pg 3
                                          of 4




        WHEREFORE, the Government respectfully submits this information to the Court

 for its consideration.



 MATTHEW T. KIRSCH
 Acting United States Attorney

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                                           3
Case No. 1:24-cr-00251-RMR        Document 115       filed 11/06/24    USDC Colorado           pg 4
                                           of 4




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of November, 2024, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to all counsel of record.


                                                   By: /s/ Amy McDaniel
                                                   Amy McDaniel
                                                   Legal Assistant




                                               4
